
*334In re Louisiana Machinery Rentals, LLC; — Defendant; Applying For Writ of Certiorari and/or Review, Parish of La-salle, 28th Judicial District Court, No. 37,-447; to the Court of Appeal, Third Circuit, No. 12-259.
Granted. The application is remanded to the court of appeal, which is instructed to consider the matter in light of this court’s recent opinions in Washington Parish Sheriffs Office v. Louisiana Machinery Company, LLC, 13-0583 (La.10/15/13), 126 So.3d 1273, and Catahoula Parish School Bd. v. Louisiana Machinery Company, LLC, 12-2504 (La.10/15/13), 124 So.3d 1065.
